                                                                                       DISTRICT OF OREGON
                                                                                            FILED
                                                                                         December 07, 2018
                                                                                     Clerk, U.S. Bankruptcy Court
IT IS ORDERED AND NOTICE IS GIVEN THAT:
     (a) The trustee is authorized to compensate the debtor's attorney in the amount requested below
without further notice or order if this application and order thereon are timely served unless, within 30 days
of the FILED date, a party files a written objection setting forth specific grounds for the objection with the
clerk at 1050 SW 6th Ave. #700, Portland OR 97204. If the amount requested includes fees for work
necessary to complete the case, and payment of the fees will have any impact on creditor distributions, the
trustee is authorized to compensate the attorney in the amount requested for work necessary to complete
the case 21 days after an itemized bill for the additional work is filed and the bill is served on the debtor
unless, within 14 days after service, a written objection is filed.
     (b) The applicant must: (1) comply with all provisions in the court's Notice to Serve Document(s), and (2)
serve this document and file the completed certificate of service using this document without any
attachments.



                                                                     _____________________________
                                                                            TRISH M. BROWN
                                                                          U.S. Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

In re                                                 )
                                                      )             16-31781-tmb13
                                                          Case No. _______________
Anthony T Stratton                                    )
                                                      )   [ONLY FOR CHAPTER 13 CASES]
                                                      )   APPLICATION BY DEBTOR'S ATTORNEY
                                                      )   FOR SUPPLEMENTAL COMPENSATION;
Debtor(s)                                             )   AND ORDER AND NOTICE THEREON

I, the undersigned debtor's attorney, whose address and phone number are _____________________
1500 SW Bethany Blvd, Ste 288, Beaverton, OR 97006 503-352-3690
_________________________________________________________________________,                           apply for
additional compensation from the debtor's estate for the period from __________
                                                                            11/08/17 to __________
                                                                                             11/21/18 in the
sum of $____________
               969.50       (which is not less than $500 unless this is a final application, and which, if this
                                           0
is a final application, includes $____________     in anticipated additional fees to complete the case), per
the attached itemized billing summary.

I CERTIFY THAT:

    1. This (Check One)          IS      IS NOT my final application for compensation in this case.

    2. I have previously been awarded a total of $____________.
                                                     4,191.00   If granted, the total approved
                                    5,160.50
    compensation amount will be $____________.

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    3. My Disclosure of Compensation shows the debtor(s) and I agreed to:
       ___ Schedule 2 ___ Schedule 3.

    4. My previous application for compensation (i.e., either the original compensation disclosure or a
    supplemental application) was filed on __________,
                                                11/08/17 which is more than six months from the date of
    this application unless this is my final application.

    5. Allowance of this application will (mark all that apply):
       __ not affect the distribution to creditors.
                                                                      60.00 months.
       __ not change the length of the plan which is estimated at _______
       __ change the length of the plan from an estimated _____ months to an estimated ______
           months.
                                                                 2.00 months.
       __ delay the distribution to creditors by approximately ______
       __ reduce the distribution to general unsecured creditors from an estimated _____% to an
           estimated _____ %.
       __ require that the debtor pay more, either by additional or increased plan payments sufficient
           to pay the additional fees.
                  Case is minimum 100%.
       __ other: _____________________________________________________________________
          _________________________________________________________________________.

    6. Applicant will file a modified plan within 28 days of allowance of the compensation requested in
    this application if the allowance will otherwise require plan modification.

    7. Applicant declares that, except as explained below, the minimum time billed is not in increments
    that exceed .1 hour (6 minutes), and that any time spent working on multiple matters concurrently
    has been allocated between those matters so that total billings do not exceed the actual time spent:




DATE: __________
        11/26/18                                             _____________________________________
                                                             /s/ Ryan Hackett
                                                             Debtor's Attorney



STOP: BEFORE SERVING COPIES, SUBMIT THE MOTION TO OBTAIN A JUDGE'S ORDER!


                                      CERTIFICATE OF SERVICE

I certify that on ____________ a copy of this application and order thereon (without attachments unless
the order requires service of an economic impact statement on the debtor), and any Notice of Hearing
prepared by the court per the judge’s order, were served on the debtor, and, if amounts requested and
anticipated exceed $1,000, on all creditors who filed claims and entities that filed a request to receive all
case notices.
                                                 _____________________________________________
                                                 Signature & Relation to Applicant
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                                                   Chapter 13 Post‐Confirmation Fee Itemization
                                          Hackett Law Firm, LLC 1500 NW Bethany Bldv. #288 Beaverton, OR 97006

Client(s): Stratton        Case No.:   16‐31781
Hourly Rates:
Ryan Hackett (RPH), Attorney: $360/hr
Rosemary Zook (REZ), Attorney: $360/hr
Christy Dickson (CLD), Josh Orem (JRO) Attorney: $200/hr
Cheryl Riley/Terrien (CLR/CLT), Paralegal: $190/hr
Legal Assistant: $130/hr
All Other Staff: $75/hr
    Date                                          Description of Task                                Staff Time   Rate     Cost
  11/8/2017 received signed supplementa fees, uploaded certificate of service, emailed client heads KDR       0     75 $          ‐
            up and mailed copy of supplement fees to client
  2/14/2018 letter to client to request copy of 2017 tax returns                                    CLT     0.2    190 $     38.00
  5/15/2018 email client to request copy of 2017 Tax Returns                                         HLW    0.1     75 $      7.50
  5/15/2018 email from client regarding he will get us a copy of his 2017 tax returns                HLW      0     75 $          ‐
  7/13/2018 letter to client regarding still need Financial Management Certificate                   HLW    0.2     75 $     15.00
  8/27/2018 client emailed regarding paying on 2017 returns and needs to get us new employment       CLT      0    190 $          ‐
            information for wage order
  8/27/2018 emailed client regarding need copy of 2017 returns, and pay stubs should have            CLT    0.1    190 $     19.00
            information we need for wage order, & possible amended income and expense
            schedules
  8/28/2018 client emailed will get us returns, and pay stubs and then questions regarding Discharge CLT      0    190 $          ‐

  8/28/2018 email client back regarding Discharge questions                                          CLT    0.1    190 $     19.00
    9/4/2018 client tried to email copy of 2017 returns, email back that attachment did not work     CLT      0    190 $          ‐

    9/4/2018 client emailed current pay stub, saved to client file                                   CLT      0    190 $          ‐
    9/4/2018 prepared and filed Amended Wage Order with court                                        CLT    0.2    190 $     38.00
    9/4/2018 emailed client regarding amended wage order filed and possible amended income and       CLT    0.1    190 $     19.00
             expense schedule, we will need at least 3‐4 more pay stubs

    9/4/2018 emails with client regarding making payments to Trustee directly                        CLT    0.1    190 $     19.00
    9/5/2018 client emailed 2017 tax returns, saved to client file                                   CLT      0    190 $          ‐
    9/5/2018 redacted the 2017 tax returns and forward a copy to the Trustee                         CLT    0.1    190 $     19.00
    9/5/2018 emailed client regarding post filing tax debts                                          CLT      0    190 $          ‐
    9/5/2018 letter to client regarding post filing tax debts                                        CLT    0.2    190 $     38.00
    9/5/2018 client emailed 2017 tax debts will be paid by end of year                               CLT      0    190 $          ‐
    9/5/2018 received signed amended wage order from court, email to client with heads up to watch CLT      0.1    190 $     19.00
             pay stubs
    9/6/2018 emails with client regarding getting copy of wage order to employer                   CLT        0    190 $          ‐
  9/14/2018 TT office emailed regarding client has huge increase in income, need amended income       CLT     0    190 $          ‐
            and expense schedules
  9/14/2018 emailed client regaring TT is raising increased income issues, need to file amended I and CLT   0.1    190 $     19.00
            J schedules, need current pay stubs and updated expenses

  9/21/2018 emailed client to confirm he received the previous email and is working on getting pay   CLT    0.1    190 $     19.00
            stubs and updated expenses
  9/25/2018 emails with client regarding updating schedules                                          CLT    0.1    190 $     19.00
  10/5/2018 client emailed updated expenses, saved to client file                                    CLT      0    190 $          ‐
  10/5/2018 emailed client request for copies of curent pay stubs                                    CLT    0.1    190 $     19.00
  10/5/2018 client emailed information regarding Income, email back need copies of pay stubs         CLT    0.1    190 $     19.00

 10/15/2018 called client discussed pay stubs for amendments, notes to file                          CLT    0.1    190 $     19.00




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10/18/2018 client emailed current pay stubs, saved to clients file                                     CLT    0    190 $     ‐
10/18/2018 began working up amended income and expense schedules, email to client with                 CLT   0.2   190 $   38.00
           questions regarding both
10/22/2018 phone call with Colleen with payroll called regarding three checks went out with wrong      CLT   0.1   190 $   19.00
           case number to Trustee
10/22/2018 emailed Trustee's office request to track down the three payments with the wrong case       CLT   0.1   190 $   19.00
           number
10/23/2018 Trustee emailed and copied in payroll that funds will be transferred to the correct case    CLT    0    190 $     ‐

10/24/2018 emailed client to make sure he received our last email with questions regarding income      CLT   0.1   190 $   19.00
           and expenses
10/24/2018 prepared modified Plan, emailed with amended schedules to client for review and             CLT   0.4   190 $   76.00
           signature
10/25/2018 notes to file regarding the bably and what expenses he covers                               CLT    0    190 $     ‐
10/25/2018 emailed client modified Plan and amended Shedules again with note we need him to            CLT   0.1   190 $   19.00
           sign off on amendments
 11/1/2018 client emailed signed modified Plan and amended schedules, saved to client file             CLT    0    190 $     ‐

 11/1/2018 prepared the Notice of Modiifed plan, emailed with the modified Plan and amended            CLT   0.2   190 $   38.00
           schedules to the Trustee
 11/1/2018 emailed client that modified Plan has been forwarded to the Trustee                         CLT    0    190 $     ‐
 11/1/2018 prepared mailing labels for modified Plan                                                   CLT    0    190 $     ‐
 11/2/2018 Trustee's office emailed they want the increased income issue resolved before modified CLT         0    190 $     ‐
           Plan will be approved
 11/2/2018 emailed client regarding Trustee wants detailed information regarding increased income CLT        0.1   190 $   19.00
           or agreement to pay 100% to all creditors
 11/5/2018 called client no answer, no mail box set up                                            CLT         0    190 $     ‐
 11/5/2018 emailed client to confirm he received email regarding increased income and to see if he     CLT   0.1   190 $   19.00
           had any quesitons.
 11/5/2018 client called for CLR ‐ email to CLR to please call back                                    HAS    0    75 $      ‐
 11/5/2018 tried to return clients call, no answer, voicemail not set up                               CLT    0    190 $     ‐
 11/5/2018 phone call with client regarding increase income , notes to file                            CLT   0.2   190 $   38.00
 11/5/2018 emailed Trustee's office back regarding the increased income                                CLT   0.1   190 $   19.00
 11/6/2018 Trustee's office emailed they want pay stubs from client going back six months              CLT    0    190 $     ‐

 11/6/2018 emailed client request for pay stubs going back 6 months                                    CLT   0.1   190 $   19.00
 11/8/2018 phone call with client regardubg pay stubs Trustee wants, discussed offer he wants to       CLT   0.1   190 $   19.00
           give to Trustee
 11/8/2018 emailed Trustee's office clients offer to resolve the increased income issuee               CLT   0.1   190 $   19.00

 11/8/2018 Trustee's office emailed back to ask client again about $475 a month offer to pay 100%      CLT    0    190 $     ‐
           to creditors
 11/8/2018 email Trustee's office regarding client says he just can't afford the increase              CLT   0.1   190 $   19.00

 11/8/2018 Trustee's office emailed they will discuss file with Wayne Godare                           CLT    0    190 $     ‐
11/15/2018 Trustee's office emailed informal objections to Modified Plan                               CLT    0    190 $     ‐
11/15/2018 updated schedules and modified Plan, emailed to client for review and signature             CLT   0.3   190 $   57.00

11/16/2018 tried to call client, no answer, no voicemail                                               CLT    0    190 $     ‐
11/16/2018 emailed client regarding tried to call him back, no answer, no voicemail, he can call or CLT       0    190 $     ‐
           email me back
11/19/2018 client emailed he changed his mind, wants to do $475 a month and minimum 100% Plan CLT             0    190 $     ‐

11/19/2018 emailed Trustee office regarding client changed his mind                                    CLT   0.1   190 $   19.00
11/19/2018 emailed client we have reached out to the Trustee's office; possible increase if need for   CLT   0.1   190 $   19.00
           supplemental fees



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11/20/2018 Trustee's office emailed Order Amending Plan to make min 100% non‐ modifiable,        CLT   0.1   190 $    19.00
           reviewed, email back OK to file
11/21/2018 recived Order Amending Plan, updated Plan in file, emailed client copy of Order and   CLT   0.1   190 $    19.00
           note will get Amended Wage Order filed
11/21/2018 prepared and filed amended wage order with court                                      CLT   0.2   190 $    38.00
11/21/2018 reviewed for additional attorney fees                                                 CLT             $    35.00
                                                                                                                 $   969.50




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